Meghan Claiborne

From:                                 Meghan Claiborne
Sent:                                 Tuesday, February 2, 2021 3:47 PM
To:                                   'Thomas Malone'
Subject:                              RE: Discovery/Other depositions


Tom:

Thank you. I will confer with Shannon about the status of these requests.

I would like to depose your client on either the morning of February 11 (10:00AM) or February 12 at either
10:00AM or 1:00PM. I will need the discovery responses by this Friday to ensure time to review and address
any issues prior to the depositions. If none of these times work, please let me know as soon as possible.

Thank you,
Meghan


From: Thomas Malone <tmalone@themalonefirm.com>
Sent: Tuesday, February 2, 2021 3:42 PM
To: Meghan Claiborne <Meghan.Claiborne@Phila.gov>
Subject: FW: Discovery/Other depositions

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attachments unless you recognize the sender.

Meghan,

Please see below.

Thank you,
Tom


From: Thomas Malone
Sent: Tuesday, December 15, 2020 2:08 PM
To: Shannon Zabel; Chris McInerney
Subject: RE: Discovery/Other depositions

Shannon,

Thank you for getting back to us so quickly. My guess is that this week is not going to work out. I have another deposition scheduled
and you are correct that I would like to see any and all discovery regarding Officer O'Reilly now that you have confirmed that Officer
O'Reilly was, in fact, there.

In addition to the CVN (which we have requested several times and DO NOT yet have), we are requesting all paperwork that
references Officer O'Reilly and all paperwork prepared by Officer O'Reilly. If he gave any statement(s) - even if recently - we are
requesting his statements.

We are also requesting (by way of this e-mail, an informal discovery request):


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- any and all body-cam footage from Officer O'Reilly's BWC recorded the day of the incident;

- any and all body-cam footage from Officer Hawkins' BWC recorded the day of the incident;

- any and all body-cam footage from any other BWCs worn by any other officers at/near the scene the day of the incident;

- any and all CCI information and/or radio tapes from the incident;

 - the name, badge number, and payroll number of the Supervisor (African American male) that Officer Hawkins testified she spoke to
at the scene of the incident;

- the name, badge number, and payroll number of any and all Supervisors responsible for investigating this incident;

- the name, badge number, and payroll number of the Detective Unit Supervisor responsible for investigating this incident;

- the name, badge number, and payroll number of the Responding Commander Officer responsible for investigating this incident;

 - the names, badge numbers, and payroll numbers of the people referenced in the police paperwork turned over to plaintiff yesterday
(via your e-mail below);

- evidence of Police attempts to locate/view the 6/19/19 BWC footage from Officer Hawkins' BWC;

- evidence of Police attempts to locate/view the 6/19/19 BWC footage from Officer O'Reilly's BWC;

- evidence of Police attempts to locate/view the 6/19/19 BWC footage from any other officers at/near the scene of this incident;

Thank you in advance for your attention to these requests. Please let me know if you have any questions. Happy to discuss.

Regards,
Tom


Thomas B. Malone
The Malone Firm, LLC
1650 Arch St., Su. 2501
Philadelphia, PA 19103
(215) 987-5200

tmalone@themalonefirm.com




From: Shannon Zabel [Shannon.Zabel@Phila.gov]
Sent: Tuesday, December 15, 2020 12:08 PM
To: Chris McInerney; Thomas Malone
Subject: RE: Discovery/Other depositions

Hi Chris,

Upon learning who the correct officer was, I requested the CVN that Tom has referenced but I do not have that document
as of yet. To the extent Tom wants to wait and see if that document exists at the appropriate district before deposing PO
O’Reilly, I completely understand. However, if Plaintiff is in possession of that CVN, I’d ask that it be produced
immediately.

Thank you,
                                                                  2
Shannon Zabel
Assistant City Solicitor
City of Philadelphia Law Department
Civil Rights Unit
1515 Arch Street, 14th Floor
Philadelphia, PA 19102
215-683-5114

From: Chris McInerney <cmcinerney@themalonefirm.com>
Sent: Tuesday, December 15, 2020 10:55 AM
To: Shannon Zabel <Shannon.Zabel@Phila.gov>; Thomas Malone <tmalone@themalonefirm.com>
Subject: RE: Discovery/Other depositions

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attachments unless you recognize the sender.

Good morning,

Tom asked (as an informal discovery request) that you provide him with any memoranda, paperwork, or other documents
relating to the subject incident that was either created by or that references Officer Timothy O'Reilly, Badge #1111.

Thanks,
Chris McInerney
Paralegal, The Malone Firm

From: Shannon Zabel [Shannon.Zabel@Phila.gov]
Sent: Monday, December 14, 2020 6:26 PM
To: Thomas Malone
Cc: Chris McInerney
Subject: RE: Discovery/Other depositions

Tom, attached is the Use of Force report filled out by PO Hawkins, as well as the accompanying paperwork.

The correct Officer O’Reilly is Timothy O’Reilly, Badge #1111. He is available this Thursday, 12/17 and I can see if we
can get PO Hawkins then, too, and finish her deposition.

Let me get back to you on dates for Cpl. Keenan and Det. Koenig. I think they will have to be some time after the
holidays.

As you mentioned, please get back to me with discovery responses and dates for your client’s deposition. I will be taking
leave in mid-late January so I’d like to get all of these depositions done before then, if possible.

Let me know about Thursday as soon as possible if you want to depose PO O’Reilly/PO Hawkins then.

Thanks,

Shannon Zabel
Assistant City Solicitor
City of Philadelphia Law Department
Civil Rights Unit
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215-683-5114

                                                            3
From: Thomas Malone [mailto:tmalone@themalonefirm.com]
Sent: Thursday, December 10, 2020 3:28 PM
To: Shannon Zabel <Shannon.Zabel@Phila.gov>
Cc: Chris McInerney <cmcinerney@themalonefirm.com>
Subject: Discovery/Other depositions

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attachments unless you recognize the sender.

Shannon,

I am writing regarding the Wexler case. We will soon have you the discovery responses and available dates for Ms.
Wexler's Zoom deposition.

Please get me available dates for the depositions of Officer Timothy O'Reilly, Badge #1111 and Officer Joseph O'Reilly,
Badge #9980. Unless I hear from you regarding which O'Reilly was at scene of this incident, my intention is to depose
both of them. Also - please get me available dates for the depositions of Cpl. Keenan and Detective Koenig (both should
be short and can hopefully be completed on the same day). Under separate cover, I will send additional interrogatories
including interrogatories regarding the "Use of Force" report Officer Hawkins completed, which should have already been
disclosed if she is telling the truth about having completed one, and the names of the assigned Supervisors and Internal
Affairs staff assigned to this Use of Force incident.

Thanks in advance.



Best,
Tom


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